                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION


 BECKY A. SELBY,                               )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )   No. 2:20-cv-00016
                                               )
 HOLLY T. SCHROEDER,                           )
                                               )
         Defendant.                            )

                                          ORDER

        Defendant filed a Motion for Clarification regarding Plaintiff’s TWHBEA Defamation

Claim. (Doc. No. 211). Plaintiff shall respond no later than 5:00 p.m. on Sunday, February 20,

2022.

        IT IS SO ORDERED.


                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




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